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                          UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF LOUISIANA

 IN RE:

 PHILIP GUIDRY                                                   CASE NO. 18-10677
 DEBBIE GUIDRY
       DEBTORS                                                   CHAPTER 7


                ORDER AUTHORIZING THE CHAPTER 7 TRUSTEE
                TO RETAIN BK GLOBAL REAL ESTATE SERVICES
              TO PROCURE PUBLIC SALE PURSUANT TO 11 U.S.C. § 327

       Considering the Chapter 7 Trustee’s application to Retain BK Global Real Estate Services

to Procure Public Sale Pursuant to 11 U.S.C. §327 [P-39], the record of the case, applicable law, and

for reasons rendered orally at the December 19, 2018 hearing,

       IT IS ORDERED that the Chapter 7 Trustee is authorized to retain BK Global Real Estate

Services pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code.

       IT IS FURTHER ORDERED that the proposed real estate listing agreement is approved and

the chapter 7 trustee is authorized to execute the same on behalf of this bankruptcy estate as he

deems appropriate.

       Baton Rouge, Louisiana, January 9, 2019.

                                    s/ Douglas D. Dodd
                                   DOUGLAS D. DODD
                           UNITED STATES BANKRUPTCY JUDGE
